    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 1 of 39

                                                                       FILED IN CLERK'S OFFICE
                                                                           U.S.D.C.-Atlanta      ^


                                                                          FEB 0 2 2018 ^
              I N T H E UNITED S T A T E S D I S T R I C T C O U R T
             FOR T H E NORTHERN DISTRICT OF GEORGIA
                           A T L A N T A DIVISION




In re Equifax. Inc., Customer Data        M D L Docket No. 17-md-2800-TWT
Security Breach Litigation                Hon. Thomas W. I hrash




MEMORANDUM O F L A W IN SUPPORT O F B U R S O R & F I S H E R , P.A.'S
A P P L I C A T I O N F O R A POSITION ON T H E S T E E R I N G C O M M I T T E E
                         FOR T H E CONSUMER T R A C K




Dated: February 2, 2018                    BURSOR & F I S H E R , P.A.

                                           Joseph I . Marchese
                                           Joshua D. Arisohn
                                           Philip L. Fraietta
                                           888 Seventh Avenue
                                           New York, NY 10019
                                           Telephone: (646) 837-7150
                                           Facsimile: (212)989-9163
                                           Email: jmarchese@bursor.com
                                                  jarisohn@bursor.com
                                                   pfraietta@bursor.com

                                           Attorneys for Plaintiff Victor Zamora
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 2 of 39




                            T A B L E O F CONTENTS
                                                                     PAGE(S)

L       INTRODUCTION                                                         1
II.     ARGUMENT                                                             3

        A.    B&F's Identification And Investigation Of The Claims           5

        B.    B&F's Experience In Handling Class Actions And Other
              Complex Litigation                                             7

        C.    B&F's Knowledge Of The Applicable Law                        10

        D.    Resources That B&F Will Commit To Representing The
              Class                                                         12

III.    CONCLUSION                                                       ....14




                                         i
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 3 of 39




                           TABLE OF AUTHORITIES
                                                              FAGE(S)

CASES

Ebin V. Kangadis Food Inc.,
  297 F.R.D. 561 (S.D.N.Y. 2014)                                 passim

Flowers v. Here To Serve Restaurants, Inc.,
  2016 WL 10567195 (N.D. Ga. Jan. 12, 2016)                             4

In re Municipal Derivatives Antitrust   Litig,
  252 F.R.D. 184 (S.D.N.Y. 2008)                                        4

Melgar v. Zicam, LLC,
 2014 WL 5486676, (E.D. Cal. Oct. 29, 2014)...                    13, 14

Reed-Murry v. Centene Corp.,
  2015 WL 9255552 (N.D. Ga. Dec. 18                                     4

Schorr V. Countrywide Home Loans, Inc.,
  2015 WL 13402606 (M.D. Ga. Apr. 1, 2015)                              5

RULES

Fed. R. Civ. P. 23                                               4, 7,9

Fed. R. Civ. P. 23(g)                                                   3

Fed. R. Civ. P. 23(g)(1)                                              4, 5

Fed. R. Civ. P. 23(g)(1)(A)                                             4

Fed. R. Civ. P. 23(g)(l)(A)(ii)                                         7

Fed R. Civ. P. 23(g)(l)(C)(i)                                          12

Fed. R. Civ. P. 23(g)(2)(A)                                             3

Fed. R. Civ. P. 23(g)(3)                                                3




                                          ii
     Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 4 of 39




1.     INTRODUCTION

      Pursuant to the Court's instruction at the January 9, 2018 Case Management

 Conference, Plaintiff Victor Zamora, through his counsel Bursor & Fisher, P.A.

 ("B&F"), hereby submits this application to appoint B&F to the Steering

 Committee for the consumer track. In its December 8, 2017 Case Management

 Order No. 1, the Court noted that it "intends to appoint plaintiffs' lead counsel

 and a plaintiffs' steering committee, as well as plaintiffs' liaison counsel."

 12/8/17 Order, ECF No. 23, at 5-6. A t the January 9, 2018 case management

 conference, the Court stated "what 1 would suggest is that we have lead counsel,

 liaison counsel and a steering committee for each of the two tracks, for the

 consumer and fmancial institutions actions." 1/9/18 Hearing Tr. at 18:24-19:2.

 Plaintiff Zamora and B&F agree with the Court that this leadership structure is

 most appropriate for a complex action like this one.

      B&F is deserving of a position on the Steering Committee for the consumer

track and will provide real value to the putative class. B&F has substantial

experience in consumer class action litigation, including numerous successes in

data security and data privacy cases. See. e.g.. In re Michaels Stores Pin Pad

Litig, No. 1 l-cv-00350, ECF No. 22 (N.D. III. June 8, 2011) (appointing B & F

class counsel to represent a putative nationwide class of consumers who made in-

store purchases at Michaels using a debit or credit card and had their private



                                           1
     Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 5 of 39




financial information breached as a result); Moeller v. American Media, Inc., No.

16-cv-l 1367, ECF No. 42 (E.D. Mich. Sept. 28, 2017) (appointing B&F as class

counsel and approving classwide settlement of data privacy claims under Michigan

law); Taylor v. Trusted Media Brands, Inc., No. 16-cv-01812, ECF No. 87

(S.D.N.Y. Feb. 1,2018) (same). In addition, B&F has a successful history in M D L

proceedings. Most recently, B&F was appointed through a contested application

process to the Plaintiffs* Executive Committee in In re Blue Buffalo    Company,

Ltd.. Marketing and Sales Practices Litigation, No. 14-md-02562 (E.D. Mo. Dec.

23, 2014), where B&F, in collaboration with the other plaintiffs" counsel,

successfully negotiated a $32 million nationwide consumer class action settlement

within 2 years of filing the initial complaint.

      Unique factors in this case also support B&F's appointment. First, B&F has

already retained an expert witness, who is a leading expert in the fields of

cybersecurity and forensic computing, and has been selected as a Court-appointed

computer forensic expert in other federal district courts. Second, B&F employs an

attorney, Ms. Sarah Westcot, who resides and works in Alpharetta, Georgia, and

thus can attend court hearings with little travel costs and commtiting time. B&F

also has attorneys on both coasts in New York and California, who can efficiently

cover depositions all across the country. Third, B&F has extensive knowledge

about consumer class action litigation, particularly in the areas of data security and



                                           2
      Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 6 of 39




data privacy, as evidenced by B&F having been appointed class counsel in 27

putative class actions since December 2010. See Ex. A (B&F Firm Resume).

Indeed, B&F won 17 of 19 contested motions for class certification since 2006,

including 4 such motions in 2017. Id. B&F also defeated defendants' summary

^ udgment motions in 11 of 12 cases after class certification. Id.

       For the reasons stated herein, the Court should appoint B&F to a position on

the Steering Committee for the consumer track.

11.    ARGUMENT

       The appointment of interim class counsel is recommended early in the

litigation, prior to class certification, to protect the interests of the putative class.

See Fed. R. Civ. P. 23(g); Annotated Manual for Complex Litigation (4th ed. 2006)

(the 'ManuaF);    see also Fed. R. Civ. P. 23(g)(2)(A) (providing for the designation

of interim class counsel to act on behalf of a putative class before the

determination of class certification). Under Federal Rule o f C i v i l Procedure

23(g)(3), a "court may designate interim counsel to act on behalf of the putative

class before determining whether to certify the action as a class action." Although

the rule states the court "may" appoint an interim counsel, courts that have

construed Rule 23(g)(3) have relied on the Advisory Committee Notes (the

"Notes") accompanying the rule to hold that appointment of interim class counsel

is useful because it "clarifies responsibility for protecting the interests of the class



                                             3
     Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 7 of 39




during precertification activities." In re Municipal Derivatives Antitrust Litig., 252

F.R.D. 184, 185 (S.D.N.Y. 2008) (internal citations omitted). Further, the Notes

contemplate "that in many cases the need to progress toward the certification

determination may require designation of interim counsel." Fed. R. Civ. P. 23,

Advisory Committee Notes (2003) (emphasis added).

      As stated in the Manual, the court should "conduct an independent review to

ensure that counsel appointed to leading roles are qualified and responsible, that

they will fairly and adequately represent all of the parties on their side, and that

their charges w ill be reasonable." Manual at § 10.22. Indeed, the most important

factor is "achieving efficiency and economy without jeopardizing fairness to

parties." Id. at § 10.221. While neither Rule 23 nor the Notes expressly so state, it

appears to be generally accepted that the considerations set out in Rule 23(g)(1),

which governs appointment of class counsel once a class is certified, apply equally

to the designation of interim class counsel before certification. See, e.g.. Reed-

Murry V. Centene Corp., 2015 WL 9255552, at *2 (N.D. Ga. Dec. 18, 2015);

Flowers v. Here To Serve Restaurants, Inc., 2016 W L 10567195 at *2 (N.D. Ga.

Jan. 12, 2016).

      Rule 23(g)(1)(A) provides, in relevant part, that in appointing class counsel

the Court must consider:

                  (i)    the work counsel has done in identifying or
                         investigating potential claims in the action;


                                           4
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 8 of 39




                  (ii)     counsel's experience in handling class
                           actions, other complex litigation, and the
                           types of claims asserted in the action;

                  (iii)    counsel's knowledge of the applicable law;
                           and

                  (iv)     the resources that counsel will commit to
                           representing the class.


Fed R. Civ. P. 23(g)(1).

      In general, a class is fairly and adequately represented where counsel is

qualified, experienced and generally capable of conducting class action litigation.

See Schorr v. Countrywide Home Loans, Inc.,2015        WL 13402606, at *4 (M.D.

Ga. Apr. 1, 2015). Each of these considerations, as detailed below, support the

appointment of B&F to the Steering Committee.

      A.     B&F's Identification And Investigation Of The Claims

      While no one factor under Federal Rule of Civil Procedure 23(g)(1) "should

necessarily be determinative," Advisory Committee Notes (2003), the investigative

and analytical efforts of counsel can be a deciding factor:

             In a case with a plaintiff class, the process o f drafting the
             complaint requires some investigatory and analytical effort,
             tasks that strangers to the action most likely will not have
             undertaken. A l l other things being equal, when an attorn ev has
             performed these or other investigative and analytical tasks
             before making the application for appointment, he or she is in a

             attornevs who did not undertake those tasks.


                                            5
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 9 of 39




MOORE'S FEDERAL PRACTICE      § 23.120(3)(a) (3d. Ed. 2007) (emphasis added).

      B&F's work in identifying and investigating the claims in this case

demonstrates that they have and will continue to fairly and adequately represent

the proposed Class. For example, B&F performed the following work thus far:

      a) Conducted an extensive investigation of potential claims arising from the

         data breach;

      b) Corresponded with and interviewed Class members regarding the

         damages sustained as a result of the data breach;

      c) Investigated the adequacy of potential named plaintiffs;

      d) Reviewed public documentation, studies, reviews and articles about data

         breach, data security, and data privacy;

      e) Retained a cybersecurity and computer forensic expert to assist in

         performing forensic computing and with litigating this case;

      f ) Drafted and filed the Complaint in Zamora v. Equifax, Inc., et a!.. No.

         17-CV-07085 (D.N.J.);

      g) Participated in the preparation of the January 5. 2019 preliminary

         statement; and

      h) Attended the January 9, 2018 Case Management Conference by

         telephone.




                                         6
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 10 of 39




 These investigative efforts represent a high standard of professionahsm,

 dedication, and thoroughness, which have been marshaled to identify, develop,

 and demonstrate the claims alleged in the complaint. These measures are

 precisely the type of work that the Advisory Committee Notes to Rule 23 state

 that the Court should consider in appointing interim class counsel.

      B&F's thorough investigation into the claims will enable them to more than

adequately handle future discovery and related motion practice. And B&F is

prepared and able to commit to this time-consuming and costly litigation.

especially since our sole MDL case. Blue Buffalo, recently concluded with final

approval of a $32 million consumer class action settlement.

      B.     B&F's Experience In Handling Class Actions And Other Complex
             Litigation

      The second factor the court must consider is "counsel's experience in

handling class actions, other complex litigation, and the types of claims asserted in

the action." Fed. R. Civ. P. 23(g)(l)(A)(ii). B&F has substantial experience

handling consumer class actions, including data security and data privacy cases.

See, e.g.. In re Michaels Stores Pin Pad Litig, No. 1 l-cv-00350, ECF No. 22

(N.D. III. June 8, 2011) (appointing B&F class counsel to represent a putative

nationwide class of consumers who made in-store purchases at Michaels using a

debit or credit card and had their private fmancial information breached as a

result); Moeller v. American Media, Inc., No. 16-cv-l 1367, ECF No. 42 (E.D.


                                          7
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 11 of 39




Mich. Sept. 28, 2017) (appointing B&F as co-class counsel and approving

classwide settlement of data privacy claims under Michigan law); Taylor v.

Trusted Media Brands, Inc., No. 16-cv-01812, ECF No. 87 (S.D.N.Y. Feb. 1,

2018) (same). And the firm's attorneys have represented both plaintiffs and

defendants in more than 100 class action lawsuits in state and federal courts

throughout the United States. See Ex. A (B&F Firm Resume); see also Ebin v.

Kangadis Food Inc., 297 F.R.D. 561, 566 (S.D.N.Y. 2014) (Rakoff, J.) ("Bursor &

Fisher, P.A., are class action lawyers who have experience litigating consumer

claims. ... The firm has been appointed class counsel in dozens of cases in both

federal and state courts, and has won multi-million dollar verdicts or recoveries in

five class action jury trials since 2008.").

       Moreover, B&F has a successful history in MDL proceedings. For example,

B & F was appointed to the Plaintiffs' Executive Committee in In re Blue Buffalo

Company, Ltd, Marketing and Sales Practices Litigation, No. 14-md-02562, ECF

No. 35, at 1-2 (E.D. Mo. Dec. 23, 2014) ("Upon review and consideration, the

Court finds that appointment o f . . . an Executive Committee comprised o f . . . and

Joseph I . Marchese of Bursor & Fisher, P. A., will best serve the interests of the

putative class."). As Judge Sippel held, B&F "made a significant investment in

investigating and prosecuting this litigation, ha[s] sufficient resources to

vigorously protect the interests of the class in future litigation, and ha[s] [a



                                               8
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 12 of 39




background!] of success as Class Counsel in national consumer class actions,

among other actions." Id. The same is true here.

      B&F's experience in Blue Buffalo also demonstrates its ability to work in

collaboration with other counsel. There, B&F collaborated with the other

plaintiffs' counsel, and together, achieved a nationwide class settlement that

created a $32 million dollar cash settlement fund within 2 years of filing the

complaint. See In re Blue Buffalo, No. 14-md-02562, ECF No. 214.

      In addition, the attorneys of B&F have been appointed lead or co-lead class

counsel to three of the largest classes ever certified. See id. They also negotiated

and obtained court-approval for two landmark settlements in Nguyen v. Verizon

Wireless and 7/7/ v. Sprint Spectrum (the largest and second largest classes ever

certified, respectively). Id. These settlements required Verizon and Sprint to open

their wireless networks to third-party devices and applications. Id. Moreover, in

Hendricks v. StarKist Co., B&F crafted a settlement that resulted in the submission

of over 2.4 million claims from class members, the largest number of claims ever

submitted in the history of Rule 23 class actions. Id.

       The lawyers of B&F also have an active civil trial practice, having won

multi-million dollar verdicts or recoveries in five of five civil jury trials since

2008. Id. For example, while serving as lead trial counsel in Thomas v. Global

Vision Products. Inc., Bursor & Fisher obtained a $50 million jury verdict in favor



                                            9
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 13 of 39




of the plaintiff and class on a CLRA claim. Id. In another example, Ayyad v.

Sprint Spectrum, LP., Bursor & Fisher obtained a $299 million trial verdict for a

class of Sprint customers on a claim for unjust enrichment. Id.

      Finally, B&F also has prior experience working with defense counsel in this

case. King & Spalding LLP, and particularly Mr. Stewart Haskins, II, who is one

of the counsel of record for Defendants here. Most recently, B&F has worked in a

collegial manner opposite Mr. Haskins in In re Scotts EZ Seed and in Dzielak.

      C.     B&F's Knowledge Of The Applicable Law

      B&F are also knowledgeable about the law applicable to instant claims, as

demonstrated by their experience litigating other multi-state class actions. As set

forth above, the attorneys of B&F have substantial experience litigating and

resolving data security and data privacy cases.

      For example, B&F was appointed class counsel in In re Michaels Stores Pin

Pad Litig, No. 1 l-cv-00350 (N.D. 111.). There, B & F represented a nationwide

class of consumers who made in-store purchases at Michaels using a debit or credit

card and had their private financial information stolen as a result. See id. ECF No.

107. In that case. B&F, working in collaboration with co-counsel, successfully

opposed the Defendant's motion to dismiss that addressed many of the same legal

issues that Defendants will likely argue here. See id ECF No. 56. B&F also

engaged in extensive discovery, including coordinating with experts. See id. ECF



                                         10
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 14 of 39




No. 101 at    51-55. Ultimately, B&F successfully secured a nationwide class

settlement on behalf of hundreds of thousands of consumers within 2 years after

filing the complaint. See id. ECF No. 107.

      B&F was also appointed co-class counsel in Moeller v. American Media,

Inc., No. 16-cv-l 1367 (E.D. Mich.). There, B&F represented a class of magazine

subscribers under the M ichigan Preservation of Personal Privacy Act who

allegedly had their personal information disclosed to third parties without their

consent. See id. ECF No. 42. In that case, B&F, working in collaboration with co-

counsel, successfully opposed the Defendants' motion to dismiss that addressed

many of the same legal issues that Defendants will likely argue here, including

Article III standing. See id ECF No. 23. Ultimately, B & F successfully secured a

$7.6 million class settlement on behalf of hundreds of thousands of consumers

within one year of filing the complaint. See id. ECF No. 42.

      Additionally, B&F was appointed class counsel in Taylor v. Trusted Media

Brands, Inc., No. 16-cv-01812 (S.D.N.Y.). Again, B&F represented a class of

over one million magazine subscribers under the Michigan Preservation of

Personal Privacy Act who allegedly had their personal information disclosed to

third parties without their consent. See id. ECF No. 87. In that case, B&F

successfully secured an $8,225 million class settlement on behalf of millions of

consumers within one year of filing the complaint. See id.



                                          11
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 15 of 39




      B&F has a distinguished record of success fighting for consumer data

security and data privacy. Most recently, B&F has commenced lawsuits against

major online retailers for allegedly intercepting consumers' keystrokes and

browsing activity in violation of the Federal Wiretap Act. See, e.g., Cohen v.

Casper Sleep Inc., et al. No. 17-cv-09325 (S.D.N.Y. Nov. 28, 2017); Allen v.

Quicken Loans Inc., et al. No. 17-cv-12352 (D.N.J. Dec. 1, 2017).

      D.     Resources That B & F Will Commit To Representing The Class

      The final Fed R. Civ. P. 23(g)(l)(C)(i) factor, which concerns the resources

counsel w ill commit to the case, also strongly supports B&F's appointment. B&F

is a well-established, successful law firm that has the resources and personnel

necessary to pursue a case of this magnitude, as they have demonstrated in

numerous similar large-scale class actions. B&F employs an attorney, Ms. Sarah

Westcot, who resides and works in Alpharetta, Georgia, and thus can attend court

hearings with little travel costs and commuting time. B&F also has attorneys on

both coasts in New York and California, who can attend third party depositions all

across the country. As a result, the firm can fully and effectively litigate this

matter while minimizing attorneys" fees and costs, including for travel to court

hearings in Atlanta and depositions whether in Atlanta or elsewhere. B&F has

already demonstrated the will and ability to commit the necessary resources to

assure a strong and well-supported case on behalf of members of the proposed



                                           12
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 16 of 39




class, including, for example, by already retaining a qualified expert witness in this

case. The firm's resources are not merely financial, but also include substantial

expertise and work-product as discussed above, which were developed in other

similar cases that will benefit Plaintiffs and the putative class. B&F's ability to

draw from this well-developed repository of relevant work-product from similar

cases will also allow it to streamline this litigation.

       Notably, other courts have recently opined on the resources and commitment

of B&F in representing clients in class action cases. For instance, in appointing

B&F as interim class counsel in Rodriguez v. CitiMortgage, Case No. 1:11 -cv-

4718 (PGG) (S.D.N.Y. Nov. 14, 2011), Judge Gardephe recognized that Bursor &

Fisher is a "well-established law firm" that "ha[s] the resources and personnel

necessary to carry out large-scale class action litigation." See id. at 3. Judge

Gardephe further noted that he had "no reason to doubt that [counsel] w ill provide

the necessary resources going forward to litigate this case." Id. Additionally,

Chief United States District Judge Morrison C. England, Jr. of the Eastern District

of California appointed Bursor & Fisher as interim class counsel in Melgar v.

Zicam, LLC, 2014 WL 5486676, (E.D. Cal. Oct. 29, 2014). Judge England's order

noted that Bursor & Fisher "has extensive experience representing plaintiffs in

large class actions, both in negotiating settlements and litigating through trial." Id.

at *2. Judge England further commented that "Bursor & Fisher is a well-



                                            13
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 17 of 39




established, reputable firm that is up to handling the challenges of this litigation

and is capable of committing the requisite resources to doing so. The Court is

confident that Bursor & Fisher will fairly and adequately represent the interests of

the class.'" Id. (citation omitted). And in In re Blue Buffalo, No. 14-md-02562

(E.D. Mo.) Judge Rodney Sippel appointed B&F to the Plaintiffs" Executive

Committee and stated that B&F "made a significant investment in investigating

and prosecuting this litigation, ha[s] sufficient resources to vigorously protect the

interests of the class in future litigation, and ha[s] [a] background!] of success as

Class Counsel in national consumer class actions, among other actions." ECF No.

35, at 2 (E.D. Mo. Dec. 23, 2014).

        The same is true with respect to this action. As a member of the Steering

Committee for the consumer track, B&F will continue to commit the same

resources and effort to this case as they have committed to their other, successful

consumer class action litigations.

III.     CONCLUSION

        In the interest of judicial economy and for the reasons set forth above, the

Plaintiff Victor Zamora, through counsel B&F, respectfully requests that the Court

appoint B&F as a member of the Steering Committee for the consumer track.




                                           14
    Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 18 of 39




Dated: February 2, 2018             RespectfuUy^submitted,

                                    By:   ,.V^^,„^^r>.       f m * , x ^
                                              Joseph 1. Marchese

                                    B U R S O R & F I S H E R , P.A.
                                    Joseph I . Marchese
                                    Joshua D. Arisohn
                                    Philip L . Fraietta
                                    888 Seventh Avenue
                                    New York, N Y 10019
                                    Telephone: (646) 837-7150
                                    Facsimile: (212)989-9163
                                    Email: imarchese@bursor.com
                                             j arisohn@bursor.com
                                             ptraietta@bursor.com



                                    Attorneys for Plaintiff Victor   Zamora




                                   15
Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 19 of 39




                                                   EXHIBIT A
        Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 20 of 39



                                 BURSOR                  FISHER

                                             www.bursor.com

88 8 S E V E N T H A V E N U E                                    1990   N O R T H C A L I F O R N I A B I, V I) .
N E W Y O R K , NY 10019                                                  W A L N U T C R E E K , C A 94596



                                           F I R M RESUME

       With offices in New York and Cahfomia, BURSOR & FISHER lawyers have
represented both plaintiffs and defendants in state and federal courts throughout the country.

         The lawyers at our firm have an active civil trial practice, having won multi-million
dollar verdicts or recoveries in five of five civil jury trials since 2008. Our most recent trial
victory came in August 2013 in Ayyad v. Sprint Spectrum L.P., in which Mr. Bursor served as
lead trial counsel and won a jury verdict defeating Sprint's $1.06 billion counterclaim and
securing the class's recovery of more than $275 million in cash and debt relief

        In Thomas v. Global Vision Products, Inc. (II), we obtained a $50 million jury verdict in
favor of a certified class of 150,000 purchasers of the Avacor Hair Regrowth System. The legal
trade publication VerdictSearch reported that this was the second largest jury verdict in
Califomia in 2009, and the largest in any class action.

        The lawyers at our fmn have an active class action practice and have won numerous
appointments as class counsel to represent millions of class members, including customers of
Verizon Wireless, AT&T Wireless, Cingular Wireless, Sprint, T-Mobile, General Electric, Haier
America, and Michaels Stores as well as purchasers of Avacor™, Xenadrine™, and Sensa'^'^
products. Since 2014, our lawyers have certified seven consumer classes pursuant to contested
class certification motions {see Ebin, Forcellati, In re EZ Seed Litig., Dei Rossi, Melgar, Hart,
Dzielak, infra). Since December 2010, Bursor & Fisher lawyers have been court-appointed
Class Counsel or Interim Class Counsel in:

                     i.    O 'Brien v. LG Electronics USA, Inc. (D.N.J. Dec. 16, 2010) to represent a
                           certified nationwide class of purchasers of LG French-door refrigerators,
                    ii.    Ramundo v. Michaels Stores, Lnc. (N.D. lU. June 8, 2011) to represent a
                           certified nationwide class of consumers who made in-store purchases at
                           Michaels Stores using a debit or credit card and had their private financial
                           infonnation stolen as a result,
                   iii.   In re Haier Freezer Consumer Litig. (N.D. Cal. Aug. 17, 2011) to
                          represent a certified class of purchasers of mislabeled fi-eezers from Haier
                          America Trading, LLC,
                   iv.    Loreto v. Coast Cutlery Co. (D.N.J. Sep. 8, 2011) to represent a certified
                          nationwide class of purchasers of knives or tools made by Coast Cutlery,
                    V.    Rodriguez v. CitiMortgage, Inc. (S.D.N.Y. Nov. 14, 2011) to represent a
                          certified nationwide class of military personnel against CitiMortgage for
                          illegal foreclosures.
   Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 21 of 39

BURSOR      FISHER                                                                  PAGE 2




            vi.   Avram v. Samsung Electronics Amenca, Inc., et al. (D.N.J. Jan. 3, 2012),
                  to represent a proposed nationwide class of purchasers of mislabeled
                  refrigerators from Samsung Electronics America, Inc. and Lowe's
                  Companies, Inc.,
           vii.   Rossi V. The Procter & Gamble Co. (D.N.J. Jan. 31, 2012), to represent a
                  certified nationwide class of purchasers of Crest Sensitivity Treatment &
                  Protection toothpaste,
          viii.   Dzielak v. Whirlpool Corp. et al. (D.N.J. Feb. 21, 2012), to represent a
                  proposed nationwide class of purchasers of mislabeled Maytag Centennial
                  washing machines from Whirlpool Corp., Sears, and other retailers,
            ix.   In re Sensa Weight Loss Litig. (N.D. Cal. Mar. 2, 2012), to represent a
                  certified nationwide class of purchasers of Sensa weight loss products,
             X.   In re Sinus Buster Products Consumer Litig. (E.D.N. Y. Dec. 17, 2012) to
                  represent a certified nationwide class of purchasers of Sinus Buster
                  products,
            xi.   Scott V. JPMorgan Chase & Co., et al (S.D.N.Y. May 30, 2013) to
                  represent a proposed nationwide class of Chase customers who were
                  allegedly unilaterally enrolled into Chase's Overdraft Protection service
                  and charged unauthorized fees,
           xii.   Podobedov v. Living Essentials, LLC ( C D . Cal. Nov. 8, 2013) to represent
                  a proposed nationwide class of purchasers of 5-hour Energy products,
          xiii.   Ebin v. Kangadis Food Inc. (S.D.N.Y. Feb. 25, 2014) to represent a
                  certified nationwide class of purchasers of Capatriti l00% Pure Olive Oil,
          xiv.    Forcellati v. Llyland's, Inc. ( C D . Cal. Apr. 9, 2014) to represent a
                  certified nationwide class of purchasers of children's homeopathic cold
                  and flu remedies,
           XV.    Ebin v. Kangadis Family Management LLC, et al. (S.D.N.Y. Sept. 18,
                  2014) to represent a certified nationwide class of purchasers of Capatriti
                  100% Pure Olive Oif
          xvi.    Ln re Scotts EZ Seed Litig. (S.D.N.Y. Jan. 26, 2015), to represent a
                  certified class of purchasers of Scotts Turf Builder EZ Seed,
         xvu.     Dei Rossi v. Whirlpool Corp., et al. (E.D. Cal. Apr. 28, 2015), to represent
                  a certified class of purchasers of mislabeled KitchenAid refrigerators from
                  AVhirlpool Corp., Best Buy, and other retailers,
         xviii.   Hendricks v. StarKist Co. (N.D. Cal. July 23, 2015) to represent a certified
                  nationwide class of purchasers of StarKist tuna products,
          xix.    In re NVIDIA GTX970 Graphics Card Litig. (N.D. Cal. May 8, 2015), to
                  represent a proposed nationwide class of purchasers of NVIDIA GTX 970
                  graphics cards, and
           XX.    Melgar v. Zicam LLC, et al. (E.D. Cal. March 30, 2016) to represent a
                  certified ten-jurisdiction class of purchasers of Zicam Pre-Cold products.
          xxi.    In re Trader Joe's Tuna Litigation ( C D . Cal. December 21, 2016), to
                  represent a nationwide class of purchasers of Trader Joe's tuna products.
         xxii.    In re Welspun Litigation (S.D.N.Y. January 26, 2017), to represent a
                  proposed nationwide class of purchasers of Welspun Egyptian cotton
                  bedding products.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 22 of 39

 BURSOR          FISHER                                                                 PAGE 3




              xxiii.   Moeller v. American Media, Inc., (E.D. Mich. June 8, 2017) to represent a
                       class of magazine subscribers under the Michigan Preservation of Personal
                       Privacy Act.
              xxiv.    Hart v. BllU. LLC (S.D.N.Y. July 7, 2017) to represent a nationwide class
                       of purchasers of BeU & Howell ultrasonic pest repellers.
               XXV.    Taylor v. Trusted Media Brands, Inc. (S.D.N.Y. Oct. 17, 2017) to
                       represent a class of magazine subscribers under the Michigan I'reservation
                       of Personal Privacy Act.
              xxvi.    Gasser v. Kiss My Face, LLC (N.D. Cal. Oct. 23, 2017) to represent a
                       proposed nationwide class of purchasers of cosmetic products.
             xxvii.    Gregorio v. The Clorox Company (N.D. Cal. Nov. 9, 2017) to represent a
                       proposed nationwide class of purchasers of household cleaning prodcuts.

                                      SCOTT A. BURSOR

        Mr. Bursor has an active civil trial practice, having won multi-million verdicts or
recoveries in five of five civil jury trials since 2008. Mr. Bursor's most recent victory came in
August 2013 in Ayyad v. Sprint Spectrum L.P., in which he served as lead trial counsel and won
a jury verdict defeating Sprint's $1.06 billion counterclaim and securing the class's recovery of
more than $275 million in cash and debt relief

       In Thomas v. Global Vision Products, Inc. (2009), the jury retumed a $50 million verdict
in favor of the plaintiff and class represented by Mr. Bursor. The legal trade publication
VerdictSearch reported that this was the second largest jury verdict in Califomia in 2009.

        Class actions are rarely tried to verdict. Other than Mr. Bursor and his partner Mr.
Fisher, we know of no lawyer that has tried more than one class action to a jury. Mr. Bursor's
perfect record of five wins in five class action jury trials, with recoveries ranging irom $21
million to $299 million, is unmatched by any other lawyer. Each of these victories was
hard-fought against top trial lawyers from the biggest law firms in the United States.

         Mr. Bursor graduated from the University of Texas Law School in 1996. He served as
Articles Editor of the Texas Law Review, and was a member of the Board of Advocates and
Order of the Coif Prior to starting his own practice, Mr. Bursor was a litigation associate with
Cravath, Swaine & Moore (1996-2000) and Chadboume & Parke LLP (2001), where he
represented large telecommunications, pharmaceutical, and technology companies in commercial
litigation.

        Mr. Bursor is a member of the state bars of New York, Florida, and Califomia, as well as
the bars of the United States Court of Appeals for the Second Circuit, United States Court of
Appeals for the Third Circuit, United States Court of Appeals for the Fourth Circuit, United
States Court of Appeals for the Sixth Circuit, United States Court of Appeals for the Ninth
Circuit, United States Court of Appeals for the Eleventh Circuit, United States District Courts for
the Southem and Eastem Districts of New York, United States District Courts for the Northem,
Central. Southern and Eastern Districts of California, the United States District Courts for the
Southem and Middle Districts of Florida, and the United States District Court for the Eastem
District of Michigan.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 23 of 39

 BURSOR         FISHER                                                                  PAGE 4




                                      Representative   Cases

        Mr. Bursor was appointed lead or co-lead class counsel to the largest, 2nd largest, and 3rd
largest classes ever certified. Mr. Bursor has represented classes including more than 160
million class members, roughly 1 of every 2 Americans. Listed below are recent cases that are
representative of Mr. Bursor's practice:

        Mr. Bursor negotiated and obtained court-approval for two landmark settlements in
Nguyen v. Verizon Wireless and Zill v. Sprint Spectrum (the largest and 2nd largest classes ever
certified). These settlements required Verizon and Sprint to open their wireless networks to
third-party devices and applications. These settlements are believed to be the most significant
legal development affecting the telecommunications industry since 1968, when the FCC's
Carterfone decision similarly opened up AT&T's wireline telephone network.

        Mr. Bursor was the lead trial lawyer in Ayyad v. Sprint Spectrum, L.P. representing a
class of approximately 2 million Califomia consumers who were charged an early termination
fee under a Sprint cellphone contract, asserting claims that such fees were unlawflil liquidated
damages under the Califomia Civil Code, as well as other statutory and common law claims.
After a five-week combined bench-and-jury trial, the jury retumed a verdict in June 2008 and the
Court issued a Statement of Decision in December 2008 awarding the plaintiffs $299 million in
cash and debt cancellation. Mr. Bursor served as lead trial counsel for this class again in 2013
during a month-long jury trial in which Sprint asserted a $1.06 billion counterclaim against the
class. Mr. Bursor secured a verdict awarding Sprint only $18.4 million, the exact amount
calculated by the class's damages expert. This award was less than 2% of the damages Sprint
sought, less than 6% of the amount of the illegal termination fees Sprint charged to class
members, and ensured that the class would recover in excess of $275 million.

         Mr. Bursor was the lead trial lawyer in White v. Cellco Partnership d/b/a Verizon
Wireless representing a class of approximately 1.4 million Califomia consumers who were
charged an early termination fee under a Verizon cellphone contract, asserting claims that such
fees were unlawful liquidated damages under the Califomia Civil Code, as well as other statutory
and common law claims. In July 2008, after Mr. Bursor presented plaintiffs' case-in-chicf
rested, then cross-examined Verizon's principal trial witness, Verizon agreed to settle the case
for a $21 million cash payment and an injunction restricting Verizon's ability to impose early
termination fees in hiture subscriber agreements.

        Mr. Bursor was the lead trial lawyer in Thomas v. Global Visions Products Inc. Mr.
Bursor represented a class of approximately 150,000 Califomia consumers who had purchased
the Avacor® hair regrowth system. In January 2008, after a four-week combined bench-and-jury
trial. Mr. Bursor obtained a $37 million verdict for the class, which the Court later increased to
$40 million.

       Mr. Bursor was appointed class counsel and was elected chair of the Official Creditors'
Committee in In re Nutraquest Inc., a Chapter 11 bankmptcy case before Chief Judge Garrett E.
Brown, Jr. (D.N.J.) involving 390 ephedra-related personal injury and/or wrongfiil death claims,
two consumer class actions, four enforcement actions by governmental agencies, and multiple
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 24 of 39

 BURSOR         FISHER                                                                  PAGE 5




adversary proceedings related to the Chapter 11 case. Working closely with counsel for all
parties and with two mediators, Judge Nicholas Politan (Ret.) and Judge Marina Corodemus
(Ret.), the committee chaired by Mr. Bursor was able lo settle or otherwise resolve every claim
and reach a fully consensual Chapter 11 plan of reorganization, which Chief Judge Brown
approved in late 2006. This settlement included a $12.8 million recovery to a nationwide class
of consumers who alleged they were defrauded in connection with the purchase of Xenadrine®
dietary supplement products.

         Mr. Bursor was the lead trial lawyer in In re: Pacific Bell Late Fee Litigation. After
filing the first class action challenging Pac Bell's late fees in April 2010, wiiming a contested
motion to certify a statewide Califomia class in January 2012, and defeating Pac Bell's motion
for summary judgment in Febmary 2013, Mr. Bursor obtained final approval of the $38 million
class settlement. The settlement, which Mr. Bursor negotiated the night before opening
statements were scheduled to commence, provides for a $20 million cash payment to provide
refunds to Califomia customers who paid late fees on their Pac Bell wireline telephone accounts,
and includes an injunction that will reduce late fee charges by $18.6 million over 28 months.

                                     L . T I M O T H Y FISHER

         L. Timothy Fisher has an active practice in consumer class actions and complex business
litigation and has also successflilly handled a large number of civil appeals.

        Mr. Fisher has been actively involved in numerous cases that resulted in multi-million
dollar recoveries for consumers and investors. Mr. Fisher has handled cases involving a wide
range of issues including nutritional labeling, health care, telecommunications, corporate
govemance, unfair business practices and consumer fraud. With his partner Scott A. Bursor, Mr.
Fisher has tried four class action jury trials, all of which produced successful results. In Thomas
V. Global Vision Products, Mr. Fisher obtained a jury award of $50,024,611 — the largest class
action award in Califomia in 2009 and the second-largest jury award of any kind.

         Mr. Fisher also has significant experience in multidistrict litigation proceedings.
Currently, he serves as co-lead counsel in In re 5-Hour Energy Marketing and Sales Practices
Litigation, MDL No. 2438 and is a member of the executive committee in In re 100% Grated
Parmesan Cheese Marketing and Sales Practices Litigation, MDL No. 2705.

        Mr. Fisher was admitted to the State Bar of California in 1997. He is also a member of
the bars of the United States Court of Appeals for the Ninth Circuit and the United States District
Courts for the Northern, Central, Southern and Eastern Districts of California. Mr. Fisher taught
appellate advocacy at John F. Kennedy University School of Law in 2003 and 2004. In 2010, he
contributed jury instmctions, a verdict form and comments to the consumer protection chapter of
Justice Elizabeth A. Baron's Califomia Civil Jury Instmction Companion Handbook (West
2010). In January 2014, Chief Judge Claudia Wilken of the Umted States District Court for the
Northem District of Califomia appointed Mr. Fisher to a four-year term as a member of the
Court's Standing Committee on Professional Conduct.

       Mr. Fisher received his Juris Doctorate from Boalt Hall at the University of Califomia at
Berkeley in 1997. While in law school, he was an active member of the Moot Court Board and
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 25 of 39

 BURSOR          FISHER                                                                     PAGE 6




participated in moot court competitions throughout the United States. In 1994, Mr. Fisher
received an award for Best Oral Argument in the first year moot court competition.

        In 1992, Mr. Fisher graduated with highest honors from the University of Califomia at
Berkeley and received a degree in political science. Prior to graduation, he authored an honors
thesis for Professor Bmce Cain entitled "The Role of Minorities on the Los Angeles City
Council." He is also a member of Phi Beta Kappa.

                                        Representative   Cases

Thomas v. Global Vision Products, Inc. (Alameda County Superior Court). Mr. Fisher litigated
claims against Global Vision Products, Inc. and other individuals in connection with the sale and
marketing of a purported hair loss remedy known as Avacor. The case lasted more than seven
years and involved two trials. The first trial resulted in a verdict for plaintiff and the class in the
amount of $40,000,000. The second trial resuhed in a jury verdict of $50,024,611, which led to
a $30 million settlement for the class.

In re Cellphone Termination Fee Cases - Handset Locking Actions (Alameda County Superior
Court). Mr. Fisher actively worked on five coordinated cases challenging the secret locking of
cell phone handsets by major wireless carriers to prevent consumers from activating them on
competitive carriers' systems. Settlements have been approved in all five cases on terms that
require the cell phone carriers to disclose their handset locks to consumers and to provide
unlocking codes nationwide on reasonable terms and conditions. The settlements fundamentally
changed the landscape for cell phone consumers regarding the locking and unlocking of cell
phone handsets.

In re Cellphone Termination Fee Cases - Early Termination Fee Cases (Alameda County
Superior Court and Federal Communications Coinmission). In separate cases that are a part of
the same coordinated litigation as the Handset Locking Actions, Mr. Fisher actively worked on
claims challenging the validity under Califomia law of early termination fees imposed by
national cell phone carriers. In one of those cases, against Verizon Wireless, a nationwide
settlement was reached after three weeks of trial in the amount of $21 million. In a second case,
which was tried to verdict, the Court held after trial that the $73 million of flat early termination
fees that Sprint had collected from Califomia consumers over an eight-year period were void and
unenforceable.

                                   Selected Published     Decisions

In re 5-hour Energy Marketing and Sales Practices Litigation, 2017 W L 385042 (CD. Cal.
January 24, 2017) (denying motion for summary judgment in case alleging that 5-hour Energy
made false and misleading statements regarding its energy drinks).
Strumlaufv. Starbucks Corp., 2016 WL 3361842 (N.D. Cal. June 17, 2016) (denying motion to
dismiss case alleging underfilling of Starbucks lattes).
Melgar v. Zicam LLC, 2016 WL 1267870 (E.D. Cal. Mar. 30, 2016) (certifying 10-jurisdiction
class of purchasers of cold remedies, denying motion for summary judgment, and denying
motions to exclude plaintiffs expert witnesses).
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 26 of 39

 BURSOR         FISHER                                                                PAGE 7




Salazar v. Honest Tea, Inc., 2015 WL 7017050 (E.D. Cal. Nov. 12. 2015) (denying motion for
summary judgment).
Dei Rossi v. Whirlpool Corp., 2015 WL 1932484 (E.D. Cal. Apr. 27, 2015) (certifying California
class of purchasers of refrigerators that were mislabeled as Energy Star qualified).
Bayol V. Zipcar, Inc., 78 F.Supp.3d 1252 (N.D. Cal. 2015) (denying motion to dismiss claims
alleging unlawful late fees under Califomia Civil Code § 1671).
Forcellati v. Hyland's, Inc., 2015 WL 9685557 (CD. Cal. Jan. 12, 2015) (denying motion for
summary judgment in case alleging false advertising of homeopathic cold and flu remedies for
children).
Bayol V. Zipcar, Inc., 2014 WL 4793935 (N.D. Cal. Sept. 25, 2014) (denying motion to transfer
venue pursuant to a foram selection clause).
Forcellati v. Hyland's Inc., 2014 WL 1410264 (CD. Cal. Apr. 9, 2014) (certifying nationwide
class of purchasers of homeopathic cold and flu remedies for children).
Hendricks v. StarKist Co., 30 F.Supp.3d 917 (N.D. Cal. 2014) (denying motion to dismiss in
case alleging underfilling of 5-ounce cans of tuna).
Dei Rossi v. Whirlpool Corp., 2013 WL 5781673 (E.D. Cal. October 25, 2013) (denying motion
to dismiss in case alleging that certain KitchenAid refbgerators were misrepresented as Energy
Star qualified).
Forcellati v. Hyland's Inc., 876 F.Supp.2d 1155 (CD. Cal. 2012) (denying motion to dismiss
complaint alleging false advertising regarding homeopathic cold and flu remedies for children).
Podobedov v. Living Essentials, LLC, 2012 WL 2513458 (CD. Cal. March 22, 2012) (denying
motion to dismiss in case alleging false and misleading advertising by 5-hour Energy).
Clerkin v. MyLife.com, 2011 WL 3809912 (N.D. Cal. August 29, 2011) (denying defendants'
motion to dismiss in case alleging false and misleading advertising by a social networking
company).
In re Cellphone Termination Fee Cases, 186 Cal.App.4th 1380 (2010) (affirming order
approving $21 million class action settlement).
Gatton V. T-Mobile USA, Inc., 152 Cal.App.4th 571 (2007) (affirming order denying motion to
compel arbitration).
                                   Selected Class Settlements
In Re NVIDIA GTX970 Graphics Chip Litigation (Northem District of California) - $4.5 million
class action settlement of claims alleging that a computer graphics card was sold with false and
misleading representations conceming its specifications and performance.
Hendricks v. StarKist Co. (Northem District of Califomia) - $12 million class action settlement
of claims alleging that 5-ounce cans of tuna were underfilled.
In re Zakskorn v. American Honda Motor Co. Honda (Eastem District of Califomia) -
nationwide settlement providing for brake pad replacement and reimbursement of out-of-pocket
expenses in case alleging defective brake pads on Honda Civic vehicles manufactured between
2006 and 2011.
Correa v. Sensa Products, LLC (Los Angeles Superior Court) - $9 million settlement on behalf
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 27 of 39

 BURSOR          FISHER                                                                   PAGE 8




of purchasers of the Sensa weight loss product.
In re Pacific Bell Late Fee Litigation (Contra Costa County Superior Court) - $38.6 million
settlement on behalf of Pac Bell customers who paid an allegedly unlawlxil late payment charge.
Ln re Haier Freezer Consumer Litigation (Northem District of Califomia) - $4 million
settlement, which provided for cash payments of between $50 and $325.80 to class members
who purchased the Haier HNCM070E chest freezer.
Thomas v. Global Vision Products, Inc. (Alameda County Superior Court) - $30 million
settlement on behalf of a class of purchasers of a hair loss remedy.
Guyette v. Viacom, Inc. (Alameda County Superior Court) - $13 million settlement for a class of
cable television subscribers who alleged that the defendant had improperly failed to share certain
tax refunds with its subscribers.
                                     JOSEPH I . MARCHESE

        Joseph I. Marchese is a Partner with Bursor & Fisher, P.A. Joe focuses his practice on
consumer class actions, employinent law disputes, and commercial litigation. He has
represented corporate and individual clients in a wide array of civil litigation, and has substantial
trial and appellate experience.

        In 2015, Joe was defense trial counsel for a law f m n and several of its partners in a
sexual harassment case brought by a former associate of that firm. The plaintiffs complaint
sought $22 million in compensatory and punitive damages. After a 3-week trial in federal court
in New York, the jury retumed a verdict of not liable for the federal and state law claims.
During the trial, the judge also granted defendants' motion for judgment as a matter of law on the
plaintiffs claims for retaliation and defamation. The jury found liability solely under New York
City's human rights law, awarding only S140,000 in damages.

       Joe has significant experience in multidistrict litigation proceedings. Most recently, he
served on the Plaintiffs' Executive Committee in in Re: Blue Buffalo Company, Ltd. Marketing
And Sales Practices Litigation, MDL No. 2562, which resulted in a $32 million consumer class
settlement.

        Joe also has substantial experience in successfully litigating and resolving consumer class
actions involving claims of mislabeling, false or misleading advertising, privacy violations, and
data breach claims.

       Joe is admitted to the State Bar of New York and is a member of the bars of the United
States District Courts for the Southern District of New York, the Eastem District of New York,
and the Eastern District of Michigan, as well as the United States Court of Appeals for the
Second Circuit.

      Joe graduated from Boston University School of Law in 2002 where he was a member of
The Public Interest Law Joumal. In 1998, Joe graduated with honors from Bucknell University.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 28 of 39

 BURSOR          FISHER                                                                PAGE 9




                                 Selected Published   Decisions:

Boelter v. Hearst Communications, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. Sept. 7, 2017), granting
plaintiffs motion for partial summary judgment on state privacy law violations in putative class
action.

Boelter v. Hearst Communications, Inc., 192 F. Supp. 3d 427 (S.D.N.Y. June 17, 2016), denying
publisher's motion to dismiss its subscriber's allegations of state privacy law violations in
putative class action.

Boelter v. Advance Magazine Publishers Inc., 210 F. Supp. 3d 579 (S.D.N.Y. 2016), denying
publisher's motion to dismiss its subscriber's allegations of state privacy law violations in
putative class action.

In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
false advertising and other claims brought by New York and Califomia purchasers of grass seed
product.

Marchukv. Faruqi & Faruqi, LLP, et al, 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting
individual and law firm defendants' motion for judgment as a matter of law on plaintiffs claims
for retaliation and defamation, as well as for all claims against law firm partners, Nadeem and
Lubna Faruqi.

Ebin V. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
certification of false advertising and other claims brought by purchasers of purported "100%
Pure Olive Oil" product.

Ebin V. Kangadis Food Inc., 2014 W L 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor's
motion for summary judgment against nationwide class of purchasers of purported "100% Pure
Olive Oil" product.

In re Michaels Stores Pin Pad Litigation, 830 F. Supp. 2d 518 (N.D. 111. 2011), denying retailer's
motion to dismiss its customers' state law consumer protection and privacy claims in data breach
putative class action.

                                   Selected Class Settlements:

Taylor V. Trusted Media Brands, Inc., CaseNo. 16-cv-Ol 812-KMK (S.D.N.Y. 2018)-final
approval granted for $8,225 million class settiement to resolve claims of magazine subscribers
for alleged statutory privacy violations.

Moeller v. American Media, Inc., Case No. 16-cv-l 1367-JEL (E.D. Mich. 2017) - final approval
granted for $7.6 million class settlement to resolve claims of magazine subscribers for alleged
statutory privacy violations.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 29 of 39

 BURSOR         FISHER                                                                    PAGE 1 0




In Re: Blue Buffalo Marketing And Sales Practices Litigation, Case No. 14-MD-2562-RWS
(E.D. Mo. 2016) - final approval granted for $32 million class settlement to resolve claims of pet
owners for alleged false advertising of pet foods.

Rodriguez v. Citimortgage, Inc., Case No. 1 l-cv-4718-PGG (S.D.N.Y. 2015) - final approval
granted for $38 million class settlement to resolve claims of military servicemembers for alleged
foreclosure violations of the Servicemembers Civil Relief Act, where each class member was
entitled to $116,785 plus lost equity in the foreclosed property and interest thereon.

O'Brien V. LG Electronics USA, Inc., c/«/.. Case No. lO-cv-3733-DMC (D.N.J. 2011)-fmal
approval granted for $23 million class setfiement to resolve claims of Energy Star refrigerator
purchasers for alleged false advertising of the appliances' Energy Star qualification.

                                     JOSHUA D. ARISOHN

         Joshua D. Arisohn is a Partner with Bursor & Fisher, P.A. Josh has litigated precedent-
setting cases in the areas of consumer class actions and terrorism. He participated in the first ever
trial to take place under the Anti-Terrorism Act, a statute that affords U.S. citizens the right to
assert federal claims for injuries arising out of acts of intemational terrorism. Josh's practice
continues to focus on terrorism-related matters as well as class actions.

       Josh is admitted to the State Bar of New York and is a member of the bars of the United
States District Courts for the Southern District of New York and the Eastern District of New
York.

       Josh previously practiced at Dewey & LeBoeuf LLP and DLA Piper LLP. He graduated
from Columbia University School of Law in 2006, where he was a Harlan Fiske Stone Scholar,
and received his B.A. from Comell University in 2002. Josh has been honored as a 2015 and
2016 Super Lawyer Rising Star.

                                  Selected Published    Decisions:

Perez v. Monster Inc., 149 F. Supp. 3d 1176 (N.D. Cal. 2016), denying defendants' motion to
dismiss claims that manufacturer and retailer of HDMI cables fraudulently represented the need
for high bandwidths.

Morris v. SolarCity Corp., 2016 WL 1359378 (N.D. Cal. Apr. 4, 2016), denying defendant's
motion to dismiss claims that solar company illegally called consumers using an artificial or
prerecorded voice and an automatic telephone dialing system.

Boelter v. Hearst Commc'ns, Inc., 192 F. Supp. 3d 427 (S.D.N.Y. 2016), denying defendant's
motion to dismiss and finding that the Michigan Video Rental Privacy Act does not violate the
First Amendment.

Edwards v. Oportun, Inc., 193 F. Supp. 3d 1096 (N.D. Cal. 2016), denying defendant's motion
dismiss and rejecting its argument that providing a class representative with a cashier's check for
his individual damages mooted his individual and class claims.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 30 of 39

BURSOR          FISHER                                                                 PAGE 1 1




                                   Selected Class Settlements:

Morris v. SolarCity Corp., Case No. 3:15-cv-05107-RS (N.D. Cal.) - final approval granted for
$15 million class settlement to resolve claims under the Telephone Consumer Protection Act
("TCPA"), 47 U.S.C. § 227 et seq.

                                        JOEL D. S M I T H

       Joel D. Smith is a partner with Bursor & Fisher. P.A. Joel's practice focuses on
consumer class actions and complex litigation. He has substantial experience in trial and
appellate courts across the nation.

         Prior to joining Bursor & Fisher, Joel was a litigator at Crowell & Moring, where he
represented Fortune 500 companies, privately-held businesses, and public entities in commercial
litigation and nationwide class actions. While at Crowell & Moring, Joel litigated some of the
firm's most high-profile matters, including several class actions alleging deceptive sales
practices with respect to Apple iPhones and iPads, and a class action seeking to hold U.S. energy
companies accountable for global warming.

       Joel received both his undergraduate and law degrees from the University of Califomia at
Berkeley. While at Berkeley School of Law, he was a member of the Califomia Law Review,
received several academic honors, extemed for the Califomia Attomey General's office and
published an article on climate change policy and litigation.

       Joel is admitted to the State Bar of Califomia, as well as the United States Courts of
Appeals for the Second, Third and Ninth Circuits, and the Northem, Central, Southem and
Eastern Districts of California.

                                 Selected Published   Decisions:

In re 5-Hour ENERGY Marketing & Sales Practices Litig., 2017 W L 385042 (CD. Cal. Jan. 24,
2017), denying motion for partial summary judgment in putative class action against the makers
of 5-Hour ENERGY® products.

Mbazomo v. Etourandtravel, Inc., 2016 WL 7165693 (E.D. Cal. Dec. 8, 2016), denying motion
to dismiss in putative class action alleging unlawful calls under the Telephone Consumer
Protection Act.

Brenner v. Procter & Gamble, Co., 2016 W L 8192946 (CD. Cal. Oct. 20, 2016), denying
motion to dismiss in putative class action alleging false and misleading labeling on Pampers
baby wipes.

                                    SARAH N . W E S T C O T

        Sarah N. Westcot is an Associate with Bursor & Fisher, P.A. Ms. Westcot focuses her
practice on complex business litigation and consumer class actions. Prior to joining Bursor &
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 31 of 39

 BURSOR         FUSHER                                                                  PAGE 1 2




Fisher, Ms. Westcot litigated civil actions as an attorney with Bay Area Legal Aid in San Jose,
CA.

        Ms. Westcot served as trial counsel with Mr. Bursor in Ayyad v. Sprint Spectrum L.P.,
and helped to win a jury verdict defeating Sprint's $1.06 billion counterclaim and securing the
class's recovery of more than $275 million in cash and debt relief

       Ms. Westcot is admitted to the State Bar of Califomia and is a member of the bars of the
United States District Courts for the Northern, Central, Southern, and Eastem Districts of
California.

       Ms. Westcot received her Juris Doctor from the University of Notre Dame Law School in
2009. During her third year of law school, Ms. Westcot worked as a law clerk with the local
public defender's office representing juvenile clients in criminal hearings. She graduated with
honors from the University of Florida in 2005.

                                      NEAL J . DECKANT

        Neal J. Deckant is an Associate with Bursor & Fisher, P.A. Neal focuses his practice on
complex business litigation, consumer class actions, and employment law disputes. Prior to
joining Bursor & Fisher, Neal counseled low-income homeowners facing foreclosure in East
Boston.

        In 2015, Neal was defense trial counsel for a law firm and several of its partners in a
sexual harassment case brought by a former associate of that firm. The plaintiffs complaint
sought $22 million in compensatory and punitive damages. After a 3-week trial in federal court
in New York, the jury returned a verdict of not liable for the federal and state law claims.
During the trial, the judge also granted defendants' motion for judgment as a matter of law on the
plaintiffs claims for retaliation and defamation. The jury found liability solely under New York
City's human rights law, awarding only $140,000 in damages.

       Neal is admitted to the State Bar of New York and is a member of the bars of the United
States District Court for the Southern District of New York, the United States District Court for
the Eastem District of New York, and the bars of the United States Courts of Appeals for the
Second and Ninth Circuits.

         Neal received his Juris Doctor from Boston University School of Law in 2011,
graduating cum laude with two Dean's Awards. During law school, Neal served as a Senior
Articles Editor for the Review of Banking and Financial Law, where he authored two published
articles about securitization reforms, both of which were cited by the New York Court of
Appeals, the highest court in the state. Neal was also awarded Best Oral Argument in his moot
court section, and he served as a Research Assistant for his Securities Regulation professor.
Neal has also been honored as a 2014 and 2015 Super Lawyers Rising Star. In 2007, Neal
graduated with Honors from Brown University with a dual major in East Asian Studies and
Philosophy.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 32 of 39

 BURSOR          FISHER                                                                PAGE 1 3




                                 Selected Published    Decisions:

Duran v. Obesity ResearcPi Institute, LLC, 204 Cal. Rptr. 3d 896 (Cal. Ct. App. 2016), reversing
and remanding final approval of a class action settlement on appeal, regarding allegedly
mislabeled dietary supplements, in connection with a meritorious objection.

Marcfiuliv. Faruqi & Faruqi, LLP, et al., 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting
individual and law firm defendants' motion for judgment as a matter of law on plaintiffs claims
for retaliation and defamation, as well as for all claims against law firm partners, Nadeem and
Lubna Faruqi.

Ebin V. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
certification of false advertising and other claims brought by purchasers of purported "100%
Pure Olive Oil" product.

Ebin V. Kangadis Food Inc., 2014 W L 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor's
motion for summary judgment against nationwide class of purchasers of purported "100%) Pure
Olive Oil" product.

                                   Selected Class   Settlements:

In Re NVIDIA GTX970 Grapiiics Ciiip Litigation, Case No. 15-cv-00760-PJH (N.D. Cal. Dec. 7,
2016) - final approval granted for $4.5 million class action settlement to resolve claims that a
computer graphics card was allegedly sold with false and misleading representations conceming
its specifications and performance.

Hendriclis v. StarKist Co., 2016 W L 5462423 (N.D. Cal. Sept. 29, 2016) - final approval granted
for $12 million class action settiement to resolve claims that 5-ounce cans of tuna were allegedly
underfilled.

In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N. Y. Dec. 17, 2014) - class action
claims resolved for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
defendant filed for bankmptcy, following claims that its olive oil was allegedly sold with false
and misleading representations.

                                     Selected   Publications:

Neal Deckant, X. Reforms of Collateralized Debt Obligations: Enforcement, Accounting and
Regulatory Proposals, 29 Rev. Banking & Fin. L. 79 (2009) (cited in Quadrant Stmctured
Products Co., Ltd. v. Vertin, 16 N.E.3d 1165, 1169 n.8 (N.Y. 2014)).

Neal Deckant, Criticisms of Collateralized Debt Obligations in the Wake of the Goldman Sachs
Scandal, 30 Rev. Banking & Fin. L. 407 (2010) (cited in Quadrant Structured Products Co., Ltd.
V. Vertin, 16 N.E.3d 1165, 1169 n.8 (N.Y. 2014); Lyon Village Venetia, LLCv.    CSEMortgage
LLC, 2016 W L 476694, at *1 n.l (Md. Ct. Spec. App. Feb. 4, 2016); Ivan Ascher, Portfoho
Society: On the Capitahst Mode of Prediction, at 141, 153, 175 (Zone Books / The M I T Press
2016)).
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 33 of 39

 BURSOR         FISHER                                                                  PAGE 1 4




                                      Y I T Z C H A K KOPEL

        Yitzchak Kopcl is an Associate with Bursor & Fisher, P A . Yitz focuses his practice on
consumer class actions, employment law disputes, and complex business litigation. He has
represented corporate and individual clients before federal and state courts, as well as in
arbitration proceedings.

        In 2015, Yitz was plaintiffs' counsel in a certified class action in the United States
District Court for the Southern District of New York in a false advertising action against an olive
oil manufacturer. After the Defendant's motion for summary judgment was denied, the parties
entered into a multi-million dollar class settlement.

       Yitz also provides pro bono representation for refiigees in deportation proceedings.

        Yitz is admitted to the State Bars of New York and New Jersey, the bar of the United
States Court of Appeals for the Eleventh Circuit, and the bars of the United States District Courts
for the Southern District of New York, Eastern District of New York, Eastern District of
Missouri, and District of New Jersey.

       Yitz received his Juris Doctorate from Brooklyn Law School in 2012, graduating cum
laude with two Dean's Awards. During law school, Yitz served as an Articles Editor for the
Brooklyn Law Review and worked as a Law Clerk at Shearman & Sterling. In 2009, Yitz
graduated cum laude from Queens College with a B.A. in Accounting.

                                 Selected Published    Decisions:

Ward V. TheLadders.com, Inc., 3 F. Supp. 3d 151 (S.D.N.Y. 2014), denying online job board's
motion to dismiss its subscribers' allegations of consumer protection law violations in putative
class action.

Brady v. Basic Research, LLC, 101 F. Supp. 3d 217 (E.D.N.Y. 2015), denying diet pill
manufacturers' motion to dismiss its purchasers' allegations for breach of express warranty in
putative class action.

In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
false advertising and other claims brought by New York and Califomia purchasers of grass seed
product.

Marchuliv. Faruqi & Faruqi, LLP, et al, 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting
individual and law firm defendants' motion for judgment as a matter of law on plaintiffs claims
for retaliation and defamation, as well as for all claims against law firm partners, Nadeem and
Lubna Faraqi.

Ebin V. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
certification of false advertising and other claims brought by purchasers of purported "100%
Pure Olive Oil" product.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 34 of 39

 BURSOR         FISHER                                                                 PAGE 1 5




Ebin V. Kangadis Food Inc., 2014 W L 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor's
motion for summary judgment against nationwide class of purchasers of purported "100% Pure
Olive Oil" product.

                               F R E D E R I C K .1. K L O R C Z Y K I I I

        Frederick J. Klorczyk I I I is an Associate with Bursor & Fisher, P.A. Fred focuses his
practice on complex business litigation, consumer class actions, and employment law disputes.

         In 2014, Fred served on the litigation team in Ebin v. Kangadis Food Inc. At class
certification. Judge Rakoff adopted Fred's choice of law fraud analysis and research directly into
his published decision certifying a nationwide fraud class. Fred was also an instrumental member
of the litigation team led that challenged this defendant's Chapter 11 filing as a sham. After
contesting plan confirmation in the bankruptcy court, the class action claims were resolved for
$2 million as part of a Chapter 11 plan of reorganization.

        Fred is admitted to the State Bars of New York and New Jersey, the bars of the United
States District Courts for the Southem District of New York, Eastem District of New York, and
District of New Jersey, and the bar of the United States Court of Appeals for the Second Circuit.

        Fred received his Juris Doctor from Brooklyn Law School in 2013, graduating magna
cum laude with two CALI Awards for the highest grade in his classes on criminal law and
conflict of laws. During law school, Fred served as an Associate Managing Editor for the
Brooklyn Joumal of Corporate, Financial and Commercial Law and as an intern to the Honorable
Alison J. Nathan of the United States District Court for the Southem District of New York and
the Honorable Janet Bond Arterton of the United States District Court for the District of
Connecticut. In 2010, Fred graduated from the University of Connecticut with a B.S. in Finance.

                                 Selected Published       Decisions:

Porter v. NBTY, Inc., 2016 W L 6948379 (N.D. 111. Nov. 28, 2016), denying supplement
manufacturer's motion to dismiss consumers' allegations of false advertising relating to whey
protein content.

Weisblum v. PropJiase Labs, Inc., 88 F. Supp. 3d. 282 (S.D.N.Y. 2015), denying supplement
manufacturer's motion to dismiss consumers' allegations of false advertising relating to a
homeopathic cold product.

In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
false advertising and other claims brought by New York and Califomia purchasers of grass seed
product.

Marchuliv. Faruqi & Faruqi, LLP, et a l , 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting
individual and law firm defendants' motion for judgment as a matter of law on plaintiffs claims
for retaliation and defamation, as well as for all claims against law firm partners, Nadeem and
Lubna Faraqi.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 35 of 39

 BURSOR          FISHER                                                                  PAGE 1 6




Ebin V. Kangadis Food Inc., Case No. 13-4775 (2d Cir. Apr. 15, 2015), denying olive oil
manufacturer's Rule 23(f) appeal following grant of nationwide class certification.

Ebin V. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
certification of false advertising and other claims brought by purchasers of purported "100%
Pure Olive Oil" product.

Ebin V. Kangadis Food Inc., 2014 W L 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor's
motion for summary judgment against nationwide class of purchasers of purported "100%o Pure
Olive Oil" product.

                                   Selected Class Settlements:

In Re: Blue Buffalo Marketing And Sales Practices Litigation, Case No. 14-MD-2562-RWS
(E.D. Mo. 2016), granting final approval of $32 million class settlement to resolve claims of pet
owners for alleged false advertising of pet foods.

In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N.Y. Dec. 17, 2014), resolving
class action claims for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
defendant filed for banlcruptcy following the certification of nationwide claims alleging that its
olive oil was sold with false and misleading representations.

                                 Y E R E M E Y O. K R I V O S H E Y

        Yeremey O. Krivoshey is an Associate with Bursor & Fisher, P.A. Yeremey focuses his
practice on class actions involving false advertising, fraud, illegal fees in consumer contracts,
invasion of privacy, and unlawftil debt collection practices. He has represented clients in a wide
array of civil litigation, including appeals before the Ninth Circuit.

       Yeremey is admitted to the State Bar of Califomia. He is also a member of the bars of
the United States Court of Appeals for the Ninth Circuit and the United States District Courts for
the Northern, Central, Southern, and Eastern Districts of California.

       Yeremey graduated from New York University School of Law in 2013, where he was a
Samuel A. Herzog Scholar. Prior to Bursor & Fisher, P.A., Yeremey worked as a Law Clerk at
Vladeck, Waldman, Elias & Engelhard, P.C, focusing on employment discrimination and wage
and hour disputes. In law school, he has also intemed at the American Civil Liberties Union and
the United States Department of Justice. In 2010, Yeremey graduated cum laude from
Vanderbilt University.

                                  Selected Published    Decisions:

Bayol V. Zipcar, Inc., 2014 WL 4793935 (N.D. Cal. Sept. 25, 2014), denying enforcement of
fomm selection clause based on public policy grounds.

Bayol V. Zipcar, Inc., 78 F. Supp. 3d 1252 (N.D. Cal. Jan. 29, 2015), denying car-rental
company's motion to dismiss its subscriber's allegations of unlawfiil late fees.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 36 of 39

 BURSOR          FISHER                                                                  PAGE 1 7




Brown v. Comcast Corp., CaseNo. 5:16-cv-264-AB-SP (CD. Cal. Aug. 12, 2016), denying
intemet service provider's motion to compel arbitration of claims alleged under the Telephone
Consumer Protection Act.

Brown v. Comcast Corp., Case No. 5:16-cv-264-AB-SP (CD. Cal. Oct. 20, 2016), denying
intemet service provider's motion to stay litigation pending appeal of denial of motion to compel
arbitration.

Horanzy v. Vemma Nutrition Co., Case No. 15-cv-298-PI IX-JJT (D. Ariz. Apr. 16, 2016),
denying multi-level marketer's and its chief scientific officer's motion to dismiss their
customer's fraud claims.

Salazar v. Honest Tea, Inc., 2015 W L 7017050 (E.D. Cal. Nov. 12. 2015), denying
manufacturer's motion for summary judgment as to customer's false advertising claims.

                                   Selected Class Settlements:

Retta V. Millennium Prods., Inc., Case No. 15-cv-1801-PSG-AJW ( C D . Cal. Jan. 31, 2017)
granting preliminary approval for $8.25 million settlement to resolve claims of bottled tea
purchasers for alleged false advertising.

                                     PHILIP L . FRAIETTA

        Philip L. Fraietta is an Associate with Bursor & Fisher, P.A. Phil focuses his practice on
data privacy, complex business litigation, consumer class actions, and employment law disputes.

        In 2015, Phil was a member of a defense trial team for a law firm and several of its
partners in a sexual harassment case brought by a former associate of that firm. The plaintiffs
complaint sought $22 million in compensatory and punitive damages. After a 3-week trial in
federal court in New York, the jury retumed a verdict of not liable for the federal and state law
claims. During the trial, the judge also granted defendants' motion for judgment as a matter of
law on the plaintiffs claims for retaliation and defamation. The jury found liability solely under
New York City's human rights law, awarding only $140,000 in damages.

       Phil also has significant experience in litigating consumer class actions, particularly those
involving data privacy claims.

        Phil is admitted to the State Bars of New York and New Jersey, the bars of the United
States District Courts for the Southem District of New York, Eastem District of New York, the
District of New Jersey, the Eastem District of Michigan and the United States Court of Appeals
for the Second Circuit. Phil was a Summer Associate with Bursor & Fisher prior to joining the
firm.

       Phil received his Juris Doctor from Fordham University School of Law in 2014,
graduating cum laude. During law school, Phil served as an Articles & Notes Editor for the
Fordham Law Review, and published two articles. In addition, Phil received the Addison M.
Metcalf Labor Law Prize for the highest grade in his graduating class in the Labor Law course.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 37 of 39

 BURSOR         FISHER                                                                   PAGE 1 8




and received the highest grade in his Anti-Discrimination Law & Policy course. In 2011, Phil
graduated cum laude from Fordham University with a B.A. in Economics.

                                  Selected Published    Decisions:

Boelter v. Hearst Communications, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. 2017), granting
plaintiffs motion for partial summary judgment on state privacy law violations in putative class
action.

Boelter v. Hearst Communications, Inc., 192 F. Supp. 3d 427 (S.D.N.Y. 2016), denying
publisher's motion to dismiss its subscriber's allegations of state privacy law violations in
putative class action.

Boelter v. Advance Magazine Publishers Inc., 210 F. Supp. 3d 579 (S.D.N.Y. 2016), denying
publisher's motion to dismiss its subscriber's allegations of state privacy law violations in
putative class action.

Porter v. NBTY, Inc., 2016 W L 6948379 (N.D. 111. Nov. 28, 2016), denying supplement
manufacturer's motion to dismiss consumers' allegations of false advertising relating to whey
protein content.

                                   Selected Class    Settlements:

Moeller v. American Media, Inc., Case No. 16-cv-l 1367-JEL (E.D. Mich. 2017) - final approval
granted for $7.6 million class settlement to resolve claims of magazine subscribers for alleged
statutory privacy violations.

Taylor v. Trusted Media Brands, Inc., Case No. 16-cv-Ol 812-KMK (S.D.N.Y. 2018) - final
approval granted for $8,225 million class settlement to resolve claims of magazine subscribers
for alleged statutory privacy violations.

                                      THOMAS A. REYPA

      Thomas Reyda is an Associate with Bursor & Fisher, P.A. Thomas focuses his practice
on complex business litigation and consumer class actions.

       Thomas is admitted to the State Bar of Califomia and is a member of the bar of the
United States District Court for the Northern District of California.

       Thomas received his Juris Doctorate from Berkeley Law School in 2016. During law
school Mr. Reyda worked as a Law Clerk at Kershaw Cutter & Ratinoff, LLP. In 2012, Mr.
Reyda graduated from the Colorado College with a B.A. in Intemational Political Economy.

                                       ALEC M. LESLIE

      Alec Leslie is an Associate with Bursor & Fisher, P.A. He focuses his practice on
consumer class actions, employment law disputes, and complex business litigation.
       Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 38 of 39

 BURSOR         FISHER                                                                 PAGE 1 9




       Alec is admitted to the State Bar of New York and is a member of the bar of the United
States District Courts for the Southern and Eastern Districts of New York. Alec was a Summer
Associate with Bursor & Fisher prior to joining the firm.

        Alec received his Juris Doctorate from Brooklyn Law School in 2016, graduating cum
laude. During law school. Alec served as an Articles Editor for Brooklyn Law Review. In
addition, Alec served as an intern to the Honorable James C. Francis for the Southem District of
New York and the Honorable Vincent Del Giudice, Supreme Court, Kings County. Alec
graduated from the University of Colorado with a B.A. in Philosophy in 2012.

                                         BLAIR R E E P

      Blair Reed is an Associate with Bursor & Fisher, P.A. She focuses her practice on
complex business litigation and consumer class actions.

       Blair is admitted to the State Bar of Califomia and is a member of the bar of the United
States District Court for the Northem District of California.

       Blair received her Juris Doctorate from the University of San Francisco School of Law in
2017, where she was a Dean's Scholar and served as a staff member for USF Law Review.
During law school, Blair worked as a Law Clerk at a Bay Area law firm with a focus on wage
and hour class actions. In addition, she worked as a Law Clerk at the Santa Cmz County District
Attomey's Office. In 2013, Blair graduated from the University of San Francisco where she
played on the Women's Tennis Team and studied Communications.
2/1/2018                                                          FedEx Ship IVlanager - Print Your Label(s)
                     Case 1:17-md-02800-TWT Document 203 Filed 02/05/18 Page 39 of 39


                                                   X                                                                  3 >
                                                                                                                       CO „ _ |   ——
                                                                                                                                    ^
                                                                                                                                        U I l>0
                                                                                                                                                   O
                                                                  -vl                                                             m                7J
                                                                                                                            _, ;^ o
                                                                                                                       cn


                                                                                                                                                        Co    m
                                                  o                                                                         ^ o
                                                                  CD
                                                                  CO
                                                                  00
                                                                                                                                        Is?
                                                                                                                                        m 5
                                                                                                                                                        M O   •




                                                   m              G>
                                                                                                                            O     CO
                                                                                                                                     ^
                                                                                                                                        o
                                                                                                                                             CO
                                                                                                                                           > ^
                                                                                                                                                   2
                                                   >              03                                                                    2 m
                                                                                                                                        < CO
                                                                                                                                        1" o

                                                                       T3
                                                                                                                                            =!
                                                                                                                                                                  ip
                                                                                                                                        ig               in
                                                                                                                                                         m
                                                                                                                                                         z
                                                                                                                                                                  ii
                                                                            o                                                           •n CO

                                                    >

                                                      -to,   O

                                                      r" o9
                                                                                        J131118II12SD1UV                        552J1/122D/DC/S6




  After printing this label:
  1. Use the 'Print' button on this page to print your label to your laser or inl^jet printer.
  2. Fold the printed page along the horizontal line.
  3. Place label in shipping pouch and affix it to your shipment so that the barcode portion of the label can be read and scanned.

  W a r n i n g : Use only the printed original labei for shipping. Using a photocopy of this label for shipping purposes is fraudulent and couid result in
  additional billing charges, along with the cancellation of your FedEx account number.
  Use of this system constitutes your agreement to the service conditions in the cun-ent FedEx Service Guide, available on fedex.com.FedEx will not
  be responsible for any claim in excess of $100 per package, whether the result of loss, damage, delay, non-delivery, misdelivery,or misinformation,
  unless you declare a higher value, pay an additional charge, document your actual loss and file a timely claim.Limitations found in the current FedEx
  Service Guide apply Your right to recover from FedEx for any loss, including intrinsic value of the package, loss of sales, income interest, profit,
  attorney's fees, costs, and other forms of damage whether direct, incidental,consequential, or special is limited to the greater of $100 or the
  authorized declared value. Recovery cannot exceed actual documented loss.Maximum for items of extraordinary value is $1,000, e.g. jewelry,
  precious metals, negotiable instruments and other items listed in our ServiceGuide. Written claims must be filed within strict time limits, see current
  FedEx Service Guide.




https://www.f6dex.co m/shipping/shipAction.handle?method=doContinue                                                                                                    1/1
